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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                      1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 967



     CERTIFICATION OF NO OBJECTION REGARDING SIXTH MONTHLY
 APPLICATION OF WHITE & CASE LLP FOR ALLOWANCE OF COMPENSATION
       AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
        DECEMBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the sixth monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of White & Case LLP

(the “Applicant”) listed on Exhibit A attached hereto. The Monthly Application was filed with

the United States Bankruptcy Court for the District of Delaware (the “Court”) on February 13,

2024. The undersigned further certifies that they have reviewed the Court’s docket in this case

and no answer, objection or other responsive pleading to the Monthly Application appears thereon.

Pursuant to the Notice of Fee Application filed with the Monthly Application, objections to the

Monthly Application were to be filed and served no later than March 4, 2024 at 4:00 p.m. (ET).

The Monthly Application was filed and served in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11




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           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Professionals and Committee Members, entered July 25, 2023 [D.I. 181] (the “Interim

Compensation Order”).

       Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the fees and one hundred percent (100%) of the expenses requested in the Monthly Application

upon the filing of this certification without the need for a further order of the Court. A summary

of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: March 6, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
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                                                         EXHIBIT A

                                                 Professional Fees and Expenses
                                                    Monthly Fee Application

   Applicant          Fee Application   Total Fees      Total       Objection         Amount of      Amount of       Amount of
                       Period, Filing   Requested     Expenses      Deadline:            Fees         Expenses      Holdback Fees
                         Date, D.I.                   Requested                       Authorized     Authorized      Requested
                                                                                     to be Paid @   to be Paid at
                                                                                         80%            100%
White & Case LLP        12/1/23 –       $692,738.00   $4,504.73      3/4/2024        $554,190.40     $4,504.73       $138,547.60
                        12/31/23
                      Docket No. 967




 WBD (US) 4860-6294-7498v1
